     Case 23-21363-VFP           Doc 19-1 Filed 01/18/24 Entered 01/18/24 17:36:57                      Desc Ntc
                                     of Dismissal of Case Page 1 of 1
Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 23−21363−VFP
                                         Chapter: 13
                                         Judge: Vincent F. Papalia

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Judith Becker
   150 Mt. Oliver Road
   Flanders, NJ 07836
Social Security No.:
   xxx−xx−3214
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE



      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 1/18/24.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within seven (7) days from the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: January 18, 2024
JAN: mcp

                                                                       Jeanne Naughton
                                                                       Clerk
